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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



 HON. PAULINE NEWMAN,

                       Plaintiff,                   Case No. 1:23-cv-01334-CRC

              v.

 HON. KIMBERLY A. MOORE, et al.,

                       Defendants.



                                          ANSWER
       Defendants hereby submit their Answer to Plaintiff’s complaint. Am. Compl., ECF

No. 10. Defendants note that all factual allegations in the complaint are relevant only to

Plaintiff’s as-applied challenges (Counts I–IV, VI, part of VII, X–XI), which this Court dis-

missed along with several of Plaintiff’s facial challenges. See Newman v. Moore, --- F. Supp. 3d

---, 2024 WL 551836, at *1 (D.D.C. Feb. 12, 2024). The remaining counts (Counts V, part of

VII, VIII–IX) are facial challenges to the Judicial Conduct and Disability Act of 1980. See id.

at *11–18. None of Judge Newman’s factual allegations are material to these remaining chal-
lenges, and Defendants therefore object to their continued inclusion in the complaint. See

Fed. R. Civ. P. 12(f) (allowing the Court to strike any “immaterial” matters “on its own”).

Nonetheless, for the sake of completeness, Defendants respond to Plaintiff’s allegations. De-

fendants generally deny all allegations, except as specifically provided below. See Fed. R. Civ.

P. 8(b)(3).

       1.          Denied.

       2.          Admitted.

       3.          Admitted.




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       4.     Defendants deny that Chief Judge Moore is the chair of either the Federal Cir-

cuit’s Judicial Council or the Special Committee, but admit that Chief Judge Moore presides

over meetings of the Judicial Council, see 28 U.S.C. § 332(a)(1). Defendants further deny that

Chief Judge Moore “initiated”—rather than “identified”—a complaint under Rule 5. The

allegations of this paragraph are otherwise admitted.

       5.     Admitted.

       6.     Admitted.

       7.     The allegations of this paragraph are denied, except to admit that the Judicial

Council of the Federal Circuit generally consists of all active-duty judges of the U.S. Court of

Appeals for the Federal Circuit; is responsible for, inter alia, receiving and reviewing reports

by Special Committees charged with investigating complaints of judicial misconduct and/or

disability filed under the Judicial Conduct and Disability Act of 1980; and some of its author-

ities and processes are described in 28 U.S.C. §§ 332 and 352–54 and Rules 18–20 of the Rules

for Judicial Conduct and Judicial Disability Proceedings.

       8.     The allegations of this paragraph are denied, except to admit that the Judicial

Council generally consists of active judges of the Federal Circuit, and that judges who are the

subject of an investigation under the Judicial Conduct and Disability Act are not permitted to
serve upon a judicial council. See 28 U.S.C. § 359(a).

       9.     Admitted.

       10.    Admitted.

       11.    Defendants deny “[s]ince 1984, Judge Newman has continued to faithfully, dil-

igently, and meticulously exercise the duties of her office, to recognition and acclaim. De-

fendants lack knowledge or information sufficient to form a belief about the truth of the re-

maining allegations in this paragraph and therefore deny.

       12.    Defendants admit that Judge Newman has authored majority and dissenting

opinions, voted on petitions for rehearing en banc, and joined in en banc decisions of the Court.

The allegations of this paragraph are otherwise denied.


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       13.    Defendants admit that Judge Newman is an active-status Circuit Judge who

has authored hundreds of opinions, which included majority, concurring, and dissenting

opinions. The allegations of this paragraph are otherwise denied.

       14.    Denied.

       15.    Defendants lack knowledge or information sufficient to form a belief about the

truth of these allegations and therefore deny.

       16.    Denied.

       17.    Defendants admit that Chief Judge Moore met with Judge Newman around

early Mach 2023. The allegations of this paragraph are otherwise denied.

       18.    Admitted.

       19.    Defendants admit the March 24, 2023 Order was docketed on March 24, 2023.

The allegations of this paragraph are otherwise denied.

       20.    Defendants admit that the March 24, 2023 Order states “[i]n the summer of

2021, Judge Newman, at the age of 94, was hospitalized after suffering a heart attack and

having to undergo coronary stent surgery” and that between June 2021 and September 2021

Judge Newman sat on ten panels. Defendants lack knowledge or information sufficient to

form a belief about the truth of the fourth sentence and therefore deny. The allegations of this
paragraph are otherwise denied.

       21.    Defendants lack knowledge or information sufficient to form a belief about the

truth of this allegation and therefore deny.

       22.    Defendants admit that Judge Newman sat on ten panels from June 2021 to

September 2021. The allegations of this paragraph are otherwise denied.

       23.    Defendants admit upon the issuance of the March 24, 2023 Order, Chief Judge

Moore appointed a Special Committee consisting of herself, Circuit Judge Sharon Prost, and

Circuit Judge Richard G. Taranto. The allegations of this paragraph are otherwise denied.

       24.    The allegations of this paragraph are denied, except to admit that Chief Judge

Moore sent Judge Newman an email on April 5, 2023, copying all active circuit judges.


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       25.     Defendants admit that Judge Newman has not been assigned to sit on any pan-

els of the Court, starting with the April 2023 sitting, and that she has repeatedly requested to

be assigned. The allegations of this paragraph are otherwise denied.

       26.     Defendants admit Chief Judge Moore issued an order on April 6, 2023. The

allegations of this paragraph are otherwise denied.

       27.     Defendants admit the April 7, 2023 Order ordered Judge Newman to “undergo

a neurological and complete neuro-psychological battery of tests to determine whether she

suffers from a disability, and if so, its nature and extent.” Ex. C at 1. Defendants admit the

April 7, 2023 Order identified a qualified neurologist and neuropsychologist to perform the

testing. Id. at 2. Defendants admit that the April 7, 2023 Order states “[b]ased on its investi-

gation and direct observations of Judge Newman’s behavior, the Committee has determined

that there is a reasonable basis to conclude she might suffer from a disability that interferes

with her ability to perform the responsibilities of her office.” Id. at 1. Defendants admit the

April 7, 2023 order provided Judge Newman three days (or the option of demonstrating good

cause for failure to comply with this deadline) in which to indicate whether she would make

herself available for the tests to be conducted at a later date. Id. at 2. The allegations of this

paragraph are otherwise denied.
       28.     Defendants admit Chief Judge Moore issued an order on April 13, 2023. The

allegations of this paragraph are otherwise denied.

       29.     Defendants admit that the Special Committee issued an order on April 17,

2023. Defendants lack knowledge or information sufficient to form a belief about the truth of

the allegation that “the events this order alleged (i.e., ‘heart attack’ and ‘coronary stents’) never

transpired” and therefore deny. The allegations of this paragraph are otherwise denied.

       30.     Denied.

       31.     Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegation Judge Newman’s law clerk made an earlier request to Judge Newman




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to seek alternative employment and therefore deny. The allegations of this paragraph are

otherwise denied.

       32.    Defendants admit that Chief Judge Moore issued an order on April 20, 2023.

The allegations of this paragraph are otherwise denied.

       33.    Defendants admit that on April 21, 2023 Mark Chenoweth sent a letter to Chief

Judge Moore and copied Judges Prost and Taranto requesting immediate restoration of Judge

Newman to the regular rotation on the Court’s calendar and that the Chief Judge or the Spe-

cial Committee request the Chief Justice of the United States transfer the investigation to a

different judicial council. The allegations of this paragraph are otherwise denied.

       34.    Denied.

       35.    Defendants admit the April 21, 2023 letter sent to Chief Judge Moore and cop-

ying Judges Prost and Taranto contains the quoted language. The allegations of this para-

graph are otherwise denied.

       36.    Defendants admit a redacted form of the March 24, 2023 Order and the

April 13, 2023 Order were published on the Federal Circuit’s website. The allegations of this

paragraph are otherwise denied.

       37.    Defendants admit on May 3, 2023 the Special Committee issued two orders.
The allegations of this paragraph are otherwise denied.

       38.    Defendants admit that the Special Committee issued an order on May 3, 2023

that ordered Judge Newman to undergo evaluation and testing by identified medical profes-

sionals. Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegation that certain medical records “do not exist” or that certain events “have never

occurred” and therefore deny. The allegations of this paragraph are otherwise denied.

       39.    Defendants admit the Special Committee’s May 3, 2023 Order and the Judicial

Council’s May 3, 2023 Order denied without prejudice Judge Newman’s request for the Chief

Judge and/or the Judicial Council to request that the Chief Justice transfer the proceeding.

The allegations of this paragraph are otherwise denied.


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       40.     Defendants admit Federal Rule of Appellate Procedure 27(a)(3)(A) provides a

response to a motion “must be filed within 10 days after service of the motion unless the court

shortens or extends the time.” Defendants admit Federal Rules of Civil Procedure 6(c) pro-

vides a written motion and notice of hearing must be served at least 14 days before the time

specified for hearing absent certain exceptions. The allegations of this paragraph are other-

wise denied.

       41.     Denied,

       42.     Defendants lack knowledge or information sufficient to form a belief about the

propositions to which Judge Newman does or does not object and therefore deny. The alle-

gations of this paragraph are otherwise denied.

       43.     Defendants lack knowledge or information sufficient to form a belief about the

truth of Judge Newman’s intent and therefore deny. The allegations of this paragraph are

otherwise denied.

       44.     Defendants admit the May 9, 2023 letter objected to the May 3, 2023 Order on

alleged First Amendment grounds and requested “disclosure of materials as authorized by

Rule 23(a)(7).” Ex. R at 3. Defendants admit that in the May 9, 2023 letter Judge Newman

declined to provide the requested medical records and the letter stated “[t]he special commit-
tee has not explained why it believes that these records are relevant to its investigatory and

deliberative processes. Given the medical data, it is unlikely to be able to do so.” Id. at 4.

Defendants admit the May 9, 2023 letter renewed the request for a transfer and Judge New-

man’s demand to be immediately restored to the case assignment calendar. Id. at 6. The

allegations of this paragraph are otherwise denied.

       45.     Defendants deny Plaintiff’s characterization of the May 3, 2023 Order as a

“prior gag order.” The allegations of this paragraph are otherwise admitted.

       46.     Defendants deny Plaintiff’s characterization of the Special Committee as hav-

ing “[n]evertheless” issued certain instructions to Judge Newman and her counsel. The alle-

gations of this paragraph are otherwise admitted.


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       47.    Defendants admit the May 16, 2023 Order ordered Judge Newman to undergo

the identified evaluation and testing and participate in a video-taped interview. Defendants

admit in the May 16, 2023 order the Special Committee denied Judge Newman’s request for

the Chief Judge and/or the Judicial Council to request that the Chief Justice transfer the pro-

ceeding. Defendants admit page 26 of the Special Committee’s May 16, 2023 Order does not

mention Judge Newman’s due process objection to the Judicial Council’s action. The allega-

tions of this paragraph are otherwise denied.

       48.    Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in this paragraph and therefore deny.

       49.    Admitted.

       50.    Defendants admit on May 20, 2023 Judge Newman made a written request for

an extension of time to respond to the May 16, 2023 Orders until June 8, 2023, stating that

one of her counsel, Gregory Dolin, was in Israel to attend a traditional Jewish baby-naming

ceremony, there is a time difference between Israel and Washington, D.C., and Mr. Dolin

had “an immovable deadline of May 31, 2023 to submit grades for over 100 students.” Ex.

S. Defendants admit on May 22, 2023 the Special Committee granted a partial extension.

Ex. L at 4. The allegations of this paragraph are otherwise denied.
       51.    Defendants admit the quote appears in the cited May 25, 2023 letter. The alle-

gations of this paragraph are otherwise denied.

       52.    Admitted.

       53.    Defendants admit the June 1, 2023 Order narrowed the focus of the Special

Committee’s further investigation “in light of the practical constraints that Judge Newman’s

refusal to cooperate places on the Committee’s ability to proceed.” Ex. N at 2. Defendants

admit the June 1, 2023 Order states “the Committee’s investigation will focus on the question

of whether Judge Newman’s refusal to cooperate with the Committee’s investigation consti-

tutes misconduct.” Id. at 3. Defendants admit the June 1, 2023 Order permitted Judge New-

man to “submit a brief limited to addressing the question whether Judge Newman’s refusal


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to undergo examinations, to provide medical records, and to sit for an interview with the

Committee as described in the May 16, Order constitute misconduct and the appropriate rem-

edy if the Committee were to make a finding of misconduct.” Id. at 6. Defendants admit the

June 1, 2023 Order scheduled oral argument on the matter for July 13, 2023. Id. The allega-

tions of this paragraph are otherwise denied.

       54.    Defendants admit the Judicial Council issued an order on June 5, 2023. The

allegations of this paragraph are otherwise denied.

       55.    Denied.

       56.    Denied.

       57.    Denied.

       58.    Defendants admit that the June 5 Order discusses the Judicial Council’s

March 8 decision to suspend Judge Newman from hearing cases, and that Judge Newman

was not invited to participate in the March 8 Judicial Council meeting. Defendants deny the

existence of meeting minutes for the March 8, 2023 meeting of the Judicial Council, and the

allegation that “[t]here are several problems with this new claim.” The allegations of this

paragraph are otherwise denied.

       59.    Defendants deny the existence of meeting minutes for the March 8, 2023 meet-
ing of the Judicial Council. The allegations of this paragraph are otherwise admitted.

       60.    Denied.

       61.    Admitted.

       62.    Admitted.

       63.    Defendants admit that Military-Veterans Advocacy, Inc. v. Sec’y of Veterans Affairs,

No. 20-1537, had been pending for more than one year. Defendants admit that in that case

the court requested additional briefing on the impact of Sergeant First Class Heath Robinson

Honoring Our Promises to Address Comprehensive Toxics (PACT) Act of 2022 on the case

and supplemental briefs were filed on September 14, 2022. Defendants admit the opinion in




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that case was issued on March 22, 2023. The allegations of this paragraph are otherwise

denied.

       64.     Defendants admit that SAS Inst. v. World Programming Ltd., No. 21-1542, had

been pending for more than a year. The allegations of this paragraph are otherwise denied.

       65.     Denied.

       66.     Denied.

       67.     Defendants admit the June 5, 2023 Order states the “Judicial Council con-

cludes upon de novo consideration that Judge Newman is not expeditiously carrying out the

work of the Court, that assigning her new cases will only further interfere with expeditious

execution of the work of the Court, and that an order precluding Judge Newman from new

case assignments is warranted.” Ex. O at 4. The allegations of this paragraph are otherwise

denied.

       68.     Defendants admit that Judge Newman did not vote on the June 5 Order. See

28 U.S.C. § 359(a). The allegations of this paragraph are otherwise denied.

       69.     Defendants admit that the June 5, 2023 Order states “[t]his action is warranted

under the Council’s statutory authority . . . 28 U.S.C. § 332(d)(1).” Ex. O. at 4–5. Defendants

admit the June 5, 2023 Order states “[t]his is not a censure but rather a decision made for the
effective and expeditious administration of the business of the court.” Ex. O. at 5. The alle-

gations of this paragraph are otherwise denied.

       70.     Denied.

       71.     Admitted.

       72.     Defendants admit on “March 22, 2023, Judge Newman issued an eighteen-

page opinion for the Court in Military-Veterans Advocacy Inc. v. Sec’y of Veterans Affairs, 63 F.4th

935 (Fed. Cir. 2023). On March 6, 2023, Judge Newman delivered a seven-page dissenting

opinion in May v. McDonough, 61 F.4th 963 (Fed. Cir. 2023). On March 31, 2023, Judge New-

man filed a four-page dissenting opinion from the Court’s opinion in Roku Inc. v. Univ. Elecs.,

Inc., 63 F.4th 1319 (Fed. Cir. 2023), and on April 6, 2023, Judge Newman filed a fifteen-page


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dissenting opinion in SAS Inst. v. World Programming Ltd., 64 F.4th 1319 (Fed. Cir. 2023).

Finally, on June 6, 2023, June [sic] Newman filed a twelve-page dissenting opinion in Dep’t

of Transport. v. Eagle Peak Rock & Paving, Inc., [69 F.4th 1367] (Fed. Cir. 2023).” The allega-

tions of this paragraph are otherwise denied.

       73.    Defendants admit Judge Newman joined the en banc portion of Moore v. United

States, 66 F.4th 991 (Fed. Cir. 2023) and she participated in the poll to take up the matter en

banc. The allegations of this paragraph are otherwise denied.

       74.    Defendants admit the first quote in this paragraph appears in Kimberly A.

Moore, Anniversaries and Observations, 50 AIPLA Q. J. 521, 524-25 (2022), which was pub-

lished in 2022. The allegations of this paragraph are otherwise denied.

       75.    Denied.

       76.    Denied.

       77.    Denied.

       78.    Denied.

       79.    Denied.

       80.    The Court dismissed Count I of Plaintiff’s Amended Complaint, including this

allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.
       81.    The Court dismissed Count I of Plaintiff’s Amended Complaint, including this

allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

       82.    The Court dismissed Count I of Plaintiff’s Amended Complaint, including this

allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

       83.    The Court dismissed Count I of Plaintiff’s Amended Complaint, including this

allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

       84.    The Court dismissed Count I of Plaintiff’s Amended Complaint, including this

allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

       85.    The Court dismissed Count II of Plaintiff’s Amended Complaint, including this

allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.


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      86.    The Court dismissed Count II of Plaintiff’s Amended Complaint, including this

allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

      87.    The Court dismissed Count II of Plaintiff’s Amended Complaint, including this

allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

      88.    The Court dismissed Count II of Plaintiff’s Amended Complaint, including this

allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

      89.    The Court dismissed Count II of Plaintiff’s Amended Complaint, including this

allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

      90.    The Court dismissed Count III of Plaintiff’s Amended Complaint, including

this allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

      91.    The Court dismissed Count III of Plaintiff’s Amended Complaint, including

this allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

      92.    The Court dismissed Count III of Plaintiff’s Amended Complaint, including

this allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

      93.    The Court dismissed Count III of Plaintiff’s Amended Complaint, including

this allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

      94.    The Court dismissed Count III of Plaintiff’s Amended Complaint, including
this allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

      95.    The Court dismissed Count IV of Plaintiff’s Amended Complaint, including

this allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

      96.    The Court dismissed Count IV of Plaintiff’s Amended Complaint, including

this allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

      97.    The Court dismissed Count IV of Plaintiff’s Amended Complaint, including

this allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

      98.    The Court dismissed Count IV of Plaintiff’s Amended Complaint, including

this allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.




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       99.    The Court dismissed Count IV of Plaintiff’s Amended Complaint, including

this allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

       100.   This paragraph contains Plaintiff’s repetition and incorporation of preceding

paragraphs, to which no response is required. Defendants further restate their objection that

none of Plaintiff’s preceding factual allegations are material to the remaining facial challenges

to the Judicial Conduct and Disability Act, including this Count. To the extent that a re-

sponse is deemed required, Defendants’ responses to those previous paragraphs are incorpo-

rated herein by reference.

       101.   Denied.

       102.   Denied.

       103.   Denied.

       104.   Denied.

       105.   Denied.

       106.   The Court dismissed Count VI of Plaintiff’s Amended Complaint, including

this allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

       107.   The Court dismissed Count VI of Plaintiff’s Amended Complaint, including

this allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.
       108.   The Court dismissed Count VI of Plaintiff’s Amended Complaint, including

this allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

       109.   The Court dismissed Count VI of Plaintiff’s Amended Complaint, including

this allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

       110.   The Court dismissed Count VI of Plaintiff’s Amended Complaint, including

this allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

       111.   This paragraph contains Plaintiff’s repetition and incorporation of preceding

paragraphs, to which no response is required. Defendants further restate their objection that

none of Plaintiff’s preceding factual allegations are material to the remaining facial challenges




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to the Judicial Conduct and Disability Act, including this Count. To the extent that a re-

sponse is deemed required, Defendants’ responses to those previous paragraphs are incorpo-

rated herein by reference.

       112.   The Court dismissed in part Count VII of Plaintiff’s Amended Complaint, in-

cluding part of this allegation, and no response to that part is therefore required. See Newman,

2024 WL 551836, at *18. The remaining allegations of this paragraph are denied.

       113.   Denied.

       114.   Denied.

       115.   This paragraph contains Plaintiff’s repetition and incorporation of preceding

paragraphs, to which no response is required. Defendants further restate their objection that

none of Plaintiff’s preceding factual allegations are material to the remaining facial challenges

to the Judicial Conduct and Disability Act, including this Count. To the extent that a re-

sponse is deemed required, Defendants’ responses to those previous paragraphs are incorpo-

rated herein by reference.

       116.   Admitted insofar as Plaintiff generally possesses Fourth Amendment rights.

       117.   Denied.

       118.   Denied.
       119.   Denied.

       120.   Denied.

       121.   This paragraph contains Plaintiff’s repetition and incorporation of preceding

paragraphs, to which no response is required. Defendants further restate their objection that

none of Plaintiff’s preceding factual allegations are material to the remaining facial challenges

to the Judicial Conduct and Disability Act, including this Count. To the extent that a re-

sponse is deemed required, Defendants’ responses to those previous paragraphs are incorpo-

rated herein by reference.

       122.   Admitted insofar as Plaintiff generally possesses Fourth Amendment rights.

       123.   Denied.


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       124.    Denied.

       125.    Denied.

       126.    Denied.

       127.    The Court dismissed Count X of Plaintiff’s Amended Complaint, including this

allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

       128.    The Court dismissed Count X of Plaintiff’s Amended Complaint, including this

allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

       129.    The Court dismissed Count X of Plaintiff’s Amended Complaint, including this

allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

       130.    The Court dismissed Count X of Plaintiff’s Amended Complaint, including this

allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

       131.    The Court dismissed Count XI of Plaintiff’s Amended Complaint, including

this allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

       132.    The Court dismissed Count XI of Plaintiff’s Amended Complaint, including

this allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

       133.    The Court dismissed Count XI of Plaintiff’s Amended Complaint, including

this allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.
       134.    The Court dismissed Count XI of Plaintiff’s Amended Complaint, including

this allegation, and no response is therefore required. See Newman, 2024 WL 551836, at *18.

       The remaining allegations following the numbered paragraphs constitute Plaintiff’s re-

quests for relief and jury demand, to which no response is required. To the extent a response

is deemed required, Defendants deny that Plaintiff is entitled to the requested relief or any

other relief and deny that there are any issues triable to a jury.

       The section headings used in Plaintiff’s complaint are Plaintiff’s characterizations of

her allegations and claims to which no response is required, but to the extent a response is

deemed required, those headings are denied.




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DATED: March 8, 2024                Respectfully submitted,

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